Case 1:99-cr-00196-PAS Document 19 Entered on FLSD Docket 05/27/2003 Page 1 of 25

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UNITED STATES DISTRICT COURT ”
SOUTHERN DISTRICT OF FLORIDA Oo = 3
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one § <
‘CASE NO.: 99-196-CR-SEITZ a /
oe, oF J
UNITED STATES OF AMERICA, pas = Sa
Plaintiff, a18 5
POO
ax :
VS. o

NICOLAS BERGONZOLI,
Defendant.

Unsealed Rest

OBJECTIONS TO PRE-SENTENCE INVESTIGATION

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JOAQUIN PEREZ, ESQ., 6780 Coral Way, Second Floor, Miami, FL 33155 / (305) 261-4000 / Fax: (305) 662-4067
Case 1:99-cr-00196-PAS Document 19 Entered on FLSD Docket 05/27/2003 Page 2 of 25

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LAW IN FORCE at present time

Article 35". Extradition could be requested, granted or an agreement could be offered
according to the public treaties and, if there is none, according to the law.

Extradition will not proceed because of political crimes.

Extradition will not proceed when it is about actions committed prior to the passing of
this law.

Article 2". This legislative act will rule when it passes.

The President of the Honorable Senate, Amylkar Acosta Medina

The General Secretary of the Honorable Senate, Pedro Pumarejo Vega

The President of the Honorable House of Representatives, Carlos Ardila Ballesteros
The General Secretary of the Honorable House of Representatives, Diego Vivas Tafur.

Article 35" of the Colombian Constitution (about Extradition). Article modified by
Article 1* of the Legislative Act | of 1997.

Article 35 Extradition of Colombians by birth is prohibited. Extradition of foreigners.
will not be granted if it is regarding political or opinion crimes.

Colombians that have committed crimes outside the country, and considered as such im
the National Legislation, will be prosecuted and judged in Colombia.

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“CONSTITUTIONAL COURT OVERRULED THE FOLLOWING through*samaagce’ ..
number C-543-98, October 1*, 1998%

Besides, extradition of Colombians by birth will be granted for crimes committed outside.
the country, and considered as such in the Colombian Crime Law.

AvEAGHMENT/ EXHIBIT Zo /
CONS F3 cr-00196-PAS Document 19 Entered on FLSD Docket 05/27/2003 Pad Sb 25

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ARTICULO 35. <DE LA EXTRADICs_.«>. <Articulo modificado por el uculo Lo. del Acto Leqislativo
No. i de 1997. Ei nuevo texto es ei siguiente:> La extradicién se podra solicitar, conceder u ofrecer de
acuerdo con los tratados publicos y, en su defecto, con la ley.

Ademas, !a extradicién de los colombianos por nacimiento se concedera por delitos cometidos en el
exterior, considerados como tales en la legislacién penal colombiana. La Ley reglamentara la materia.

La extradicién no procedera por delitos politicos.

No procedera la extradicién cuando se trate de hechos cometidos con anterioridad a la promulgacién de la
presente norma.

<Notas de vigencia>

- Articulo modificado por el articulo 10. de! Acto Legislativo No. 1

de 1997, publicado en el Diario Oficial No. 43.195 del 17 de diciembre
de 1995.

<Legislacién anterior>

Texts original de ia Constituciton Poittica:

ARTICULO 35. Se prohibe la extradicién de colombianos por nacimiento.
No se concedera la extradicion de extranjeros por delitos politicos o de
opinion.

Los colombianos que hayan cometido delitos en el exterior, considerados
como tales en la legislacion nacional, seran procesados y juzgados en

Colombia.
RGLO1-36-cr-00196-PAS Document 19 Entered on FLSD Docket 05/27/2003 Pagel #6} 25

* =
ARTICULO fo. El articulo 35 de la cf actucion Politica quedara asi: ~

ARTICULO 35. La extradicién se podra solicitar, conceder u ofrecer de acuerdo con los tratados publicos y,
en su defecto, con ia ley.

&ltAparte entre corchetes { ... } INEXEQUIBLE> Ademas, la extradicién de los colombianos por nacimiento
se concedera por delitos cometidos en el exterior, considerados como tales en la legislacién penal
colombiana. {La Ley reglamentara la materia}.

ItNotas &de vigencia>

- Aparte entre corchetes { ... } declarado INEXEQUIBLE por !a Corte
Constitucional mediante sentencia C-543-98 del 1o. de octubre de
1998. |

La extradicién no procedera por delitos politicos.

No procedera {fa extradicién cuando se trate de hechos cometidos con anterioridad a la promulgacién de la
presente norma.

itNotas &de vigencia>

- Inciso declarado exequible por ja Corte Constitucional mediante

sentencia C-543-98 del 10. de octubre de 1998, Unicamente por los

cargos analizados en la sentencia

ARTICULO 2o. El presente acto legislativo regira a partir de su promulgacion.

El Presidente del honorable Senado de la Republica, AMYLKAR ACOSTA MEDINA

El Secretario General del honorable Senado de la Republica, PEDRO PUMAREJO VEGA

El Presidente de la honorable Camara de Representantes, CARLOS ARDILA BALLESTEROS

El Secretario General de la honorable Camara de Representantes, DIEGO VIVAS TAFUR.

 

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dog PxBQUIbIpg £4 jog 'Siitingg fe Sentenci, c. ;
de 1997 la Cort, MBtittcionay Magisir, © Pan, 98,
Herning Sings,
Tadic
fa Ry,
tadio, 8! Pring er
&§ Ss5a7 8 -
ART. Vigen Sta de, tiga g vo eteipo gee T3erales
Promuig is Estey , Ja extineliga g con
Cvalgulers Seg Poca g “Quisicig, og,
biongs te UN eg and,
eS eon lOthds g
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a Px adiciga. Colp,

Scion. [04 Jae SQuienies

y "Prob atoria). :
2. Ley {8 de '8ag Estagog Vaiday 6

8Eipicg bey 74 de N13 Lay gy Ley gg 96 1g,

ve 1335, (t3tagy §leionsy Yley Frane;

14 de 196)

  
 
 

tre ong, MBiangs bor "aCinents 96 con.
‘og Somerty 4 Pxlerigg OnSideraacg Come fo.
PSlacig, Penat *Clombiang ?
NO pp Or Wlites Pott Hicos.
la 8itradie: Yang, trata
ny ®Mlezio fa, la ida g
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cto Lop isteny, O8 @ .

Seis O-424 de <06;, “Pediente 3234, fa

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t 19PHENELENE Ordd4BE, Docket 05/27/2003 Page § Of 29 o4 ps
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DE Lost, ~CHOS. LAS GARANTIAS Y Log DEBEDES -
" ~~ ee ee ee, _ -—— ~
0 de organizacién de/ estado social ge Jere- En esto sentido, ja Corle Constitucional encuentra que en id

cho, como es e! del respelo de fos derechos inalienablas de Is 9ue corresponde a la constilucionatidad de fos 0s incisos aey-
persona humana, Afirme ef actor, de conformidad can fo dis- — sados des avticulo 17 del Codigo Penal no eyiste feparo alguno
puesta én fa parie acusada del articule 17 que es objeto de su de Constitucionalidad, salvo dos precisiones de orden correcth

Israrquia normaliys colambiana, y en e| sislema de fuentes del politico, COMO quiera que la Carta de f 991, como ga
derecho, con Jo cual $9 produce fa derogaloria da Normas cons- bid Ia extradicisn de Nacionales colombiangs or nacimiento y
litucionales por disposicién de instrumantos talernacionates, la de los extranjeros por déliios politicos y de opinidn.
en UN asunto de suma importancia como es él dé fa extradicién,

Coma se observe er) la pade de resumen de fos argumentog
de fa demanda, ef actor dedica bueng barla de su eserita q
plantear criterios Subjetivos de orden practico y conereto rela.
cionados con Ia viganuia de las leyas en e} liempo y de algunos

En efecto, en principio, podria PANSSISO en qua Ia Carly de
1931 proscribid de plano dal ordenamiento nacional Ia posiblij-
dad de contraer compromisos 0 de cuniplir los ya adguitidos en
materia de extradioién 69 fodos lus casos Y Para todas jag perso-
on ea " 1 Nas; EMpero, esin no eg absalutamente cierto, vas al citado
lralados publicos y con SU aplicavién especttica, que sin duita atticulo 35 wnicamente brohfbe la extradicién da nacionales por
escapan a las competencias de esta Corporacion en el émbito nacimienio y la de los extranjeros Por delitos politicos 0 de opi-
del control deconstitucionalidad sbstaclo y general de la ley nidn, fo que signitica que an todo CaSO las auloridaaes naciona.
anie la Constitucién Politica, les No encuanican limite diraeto Y expreso alguno on ta Carty

Adicionaimente, ef demana, Politica para cimplir y hacer cumplir los vatados publicos in-
ternacionales en materia de extravicién de naciondles par adopcién
a ¥ de nacionales que hayan renunciade a su nacionalidad. Ademds,
de esta corporacién, /as que no pueden ser ebsueltas en Pst ao existe fundaménto conslitucional siguno dejar ds cumplir los
Seda de justicig Constitucional, tralados internaciénales en materia de exuadicion de extranjeros,

Ahora bien, en esta erie oad esta corporacion mere pro. Salvo, coma se vio, en el casq de los delites politicos a de opinign,
nunciar su fallo de eardeter objative y abstracio Sobre fa ‘ardan do : ‘ Jer,
constitucionalidad de Io dispuesto en los incisos primera y Se- vent vlan fe eas, ; orate de neucenteloral “ ero
gunito del articulo 17 dei Decreto 100 de 1980. an el que s¢ 94 Is tag noe yer GF a iit .
eslablecen algunas de las reglas de derecho Interne vor jag Tidad y que. Sé refiere-al tr4mite de las oxlrediciones en nvesiro
cuales sé Nge el trdmita nacional de las extradiciones, clary is cases pana oe por la Connamento som ve aa de.

fn haa da i ca 0 prohi po onsiltuciéa, como se e-
sage eonamrans ere ucem sla ba cin Caen tena et ey
: ae . oo. cGN, 1 CONAHIONAdZ a Gua 8é Entie, ie
2S! re fe | ini ” é hie . dong ‘ thy?
als aes so ceil 2 elicit plas pas ag PH 86 naclonl ee $6 191. ninguna auliésd pic
dé Iramnitar la extradicién en el caso de las relaciones intemacio. citar la extradicién dg colombianos por nacimionte: ni de fos
rales y de la colaboracién Internacional enlra estados, para efectos axtranjeros an el caso de dalilos politicos y de opinidn,
a6 la persecucién det delito, el asaguramiento ¥ Sancion de los res- sa ;
ponsables y del estabiecimiento de! derecho entra las naciones Einpero, aun en estos r?S08, NO s@ trata dy qe la Corte

Cabé observar, en primer {érmino, que la mencionada disposi.  Fonsifere que a tiede pr oducir dean iPmolamente ta especie
cion de ordan legal pertonace a lag normas de esa naturaleza, 9 derogalaria aca y automdlica de jos ur alados que preven
Pxpedidas antes de la promulgacién de fa Nueve Canta Polltica, ¥ Teguian fa oxtcldicior 1 de fos n acionules colombianos, por na-
!o cual conduce a una interpralacién parcialnenta diferente de iment por obra de fa Fanslitucit ) Nacional de 1331. inae-de
fa que se le ha dado hasta Ia rinsdicion oe la que ahora rige, Planted el actor soot Kiera de las consideraciones innings’ de
Foe quieia que enire los cambios sustanciales de orden cons 80 juridico reiacior tadas con la arménica concurrencia y unidad
litucional y Ue cardeter especiiice, ia nueva Carta Politica con. 48 Jos ordenamlentos Nuidicos de diverso o/den, como as ef

a
Hane una cldusulg nueva no prevista en la Constitucién do 1996  °#50 dal lema de las relacioneg entre ia Constituclén y 106 tra-
aie Se Telaciona de modo directo con 1 oxamen Ue las expre- [2008 publicos, y la ausencla de jerarquta formay entre ambos
siones acusadas on este caso, como es el aiticulo 35 supa.  denamientos juriaicos, ‘
}

flor (...), En sfacto, nila Cang Palitlea de 1991 Pretenda la derogato-

Esta corporacién encuentra que ig disposicion acusada esta. tit da ningun tralado publica por su mangalo oa disposleion, ai

Sy te se

nal de la que haga parle /a Republica de Colombia, inclusive Ja Politica, ni condicionar SU Vigencia, ehicacia 0 aplicacién inter.
92 fas colombianos como Ip advierle ol inciso segundo de fa MAS, 6N este sentido, ung Cosa es la eficacia interna de Ig pro-
disposicibn dcusada. se solicitar4, concedera u ofrecard de acuerdo hibiciéa a las avloridades nacionsles de extraditar Nacionales
Con los Iratados publicos: ademas, ja disposicién acusada ad- por Nacimiente, por ajemplo, que condiciona la interpratacién
viele que en caso de falta 06 tralados ef Gobierno Soliciard,  coiistifucional de una lay como gn este caso, ¥ olra @$ fa pra-
oltecerd u concederg ja extradicion de conlormidad con lo es. _ tendida ¥ absurda aficacia derogatoria de los lralados puiblicos
lablecioo en ef Codigo de Procedinienta Penal. inlernacionales, Por una wu otre disposicién consttucional de

De otra parte, segdn ta mencionada regia de| incisq segundo | o/den interno, Como resulta del psrecer del actor
del-artieuio objeto de examen 10 @S posible ofrecer, concedar Lo cierto cn este CS0 8$ que los de los incisos acusados del
i Solicitar la extradicién de colomblanas sin que exista tralado articulo 17 halian. fundamento constitucional en Ios arliculos 224

Piblico entre lug estados de que se trate on el gue se prevea 228. 189 numeral 2” y 150 numeral 16, pero las autoridadas de

 

 

 

dicho Procedimiento de colaburacién judicial, le Republica de Colombia 67 el orden interno ¥ dentra da sus
§ 0463 CONSTITUCION PoLitiCA DE COLOMBIA — ENViO Ne 9 — OCTUBRE 2001
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lkcclins y on be. tocm eteLos, o peste cQy esa |
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competencias nacionales, no pueden procedel a conceder, olrecer
nia solicitar la axtradicién de colombianes por nacimicnto ni Ja
de fos exiranjeros por delilos politicos o de opinion, por ser ello
inexequibla como jnequivocadamenle fo delermina ef asticulo
35 de la Carla Poilftica.

Esta interpretacion, que corriga la qué podla darse antes de
la vigencia de !a Carta Polilica de 1991, permite mantener ¥
eonservar fa vigencia de fas disposiciones acusadas en este
caso, con las limilaciones ptecisadas en el mencionado articulo
35, dentro del marco de un orden constilucional justo y en armo-
nia con ef derecho internacional publica (uJ (C. Const, Sent.
C-087, feb. 26/97. M.P, Fabio Morén Ofaz).

NOTA: Los magletrados Hernando Herrera Vargata, José Gregorio
Hernandez y Viadimira Naranjo Mese salvaron Su voto, el cual en us
apartes relevantes alirman:

“Como ge sabe, ef articulo 35 de la Carta, a cuyo tenor "se pronibe
In axltadicidn dé colomblanos por nacimiento’ y “no se concedera la
axiradicién de exitanjeros por delilos polilicos © de opinion’, lus in-

froducida apenas et 1981.
Ello implica que la teterencia a dicno precepto, plasmada en ef fa-

legal sobre lratades We extradicién, desconoce at hecho real de que,
con antelacién a ta Constitueién, nablan sido cetabrados y perfeccio-
nados pot Colombia nymerosog convenias internacionales sobre st
lea. Que sh el plano juridico no desaparecieron, en cuanto & los
compramisos contraldas ni caspecto de las obligaciones de allos de-
tivadas. B) Solo CON|YTO de fa nueva norma constitucional.

¥ no se oivide que, sequn al articulo 9° de ta Constitucldn Politica,
las telaciones exteriares dal Estado se tundamentan, entre otros Va-
lores, ati et ceconacimianto de log principios del Deracho Internacie-
hal acepladps pot Colombia.

 

 

no de iales principios es al denominado “pacta sunt servanda.
Intimamenta ligado a los origenes del derecho internacional, que axi-
ge a tas partes caimplir de buene fe Jos \ratados que celebran.

Si todos fos estadns adoplaran la pasiclén hoy asumida par esla
Corte e hicieran provalecer las claveuias de sus conetitueiones sare
los compromisou imremacionales ya contraidos 9of ellos, el Derecho
\nernacional pefderia vigencia y los tratades publicos quedarian des-
 pajados dg tuerza furldica vincviante, para convertirse Bn catslogos do

" buenas inlenciones. qusceplidles de set revocades unilateralmente
sogun ios cambios que, por su propia yoluntad & intereses coyuNUTA-
leg introdujeran los estados partes en el orden jutidico interno de cada
une.

Lo minimo que orige la civilizada convivencia entre catados os ef
reconocimlanto mUIVO da que las obligaciones que conlraen inedlante
tralados tienen que ear cumplidas, da manera que tos camblos de
circunslancias y ian modilicaciones dB los Tegimanes juridicos inter’
nos, si bien pueden producirse, deban dar jugar a la aplicacion 4e
mecanismos de derecho internacional, justamente previsios para gas
ayentualidades. como la denuncia. peto jamas pravocar el incumpli-
mienio de lo pactado con el argumento simplista de qua la propia
Consittudion ne sulsido mulaciones. , ,

La norma demandada he debido set doclarada exequible, adviriien:
no acerca Ja ta prohibiclon plasmada en el anicuto 38 de la Constilu-
cién para los \ratados Que sobre extradiciéa celedre 0 huya celabrado
Colombia Gespyes O€ BU vigencia, pero dejando en clato que, por
raz6n de los camnpromisos Internacionales anleciores, reguitaba inelu-
dible wf plano cumpiimignio y aplicaclén de los tralados que para a?
de julio da 1991 —fecha de entrada en vigor de la Cada Polftica— ya
habian sido perleccionados con arreglo 2 loE principios y disposicio-

condiclonamiants de {a axequibilidad en los términog en que queds
redactada la sentencia. implied un abrupto ¢ inexplicable camblo de
jurisprudencia de !8 Carte, que a su vez, mediante auio de Sala Plena

ufo, nabia coregide Ja effones posirién doctinaria contenida en el

 

 

 

 

 

De los derechos fundamentales

 

lo, qua condiciona de modo absolute fa axcquibilidad de la norma”

nes del Derecho Internacional Enlensemos, por {o lanie. que el -

dal 21 de abril de 1992 y Santencia 6-278 del 22 de juilo del mismo

ENVIO N° 30R — AGOSTO 2001 ~ GONSTITUCION POLITICA DE COLOMBIA ,

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ase. 1:99-cr- ;
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lalle C027 gal 5 da lebrero ga 1993 —que declard inex@quibles va-
rigs anicules dal conéordato con la Sania Sade, ralificado y plene-
mente en vigor desde al 2-de julio de 1975.

Nuesito criterio alrededor Ug ta Invangibliidad de los tratadoe publi-
cos que habian sido ratillcados antes oe la aclual Gonstilyeidn con-
site an que dicho gtdenamienta ne puede scr gplicado @ ellos unila-
teral y retroactivamente. Se irata de fa misma (esis Juridica que Neve
a uno de log frmanias a depositar su salvamenio de volo an el Caco
del concordato durante la gestion de ta Core Cunsiitucional de tran-
sicion (..)’.

(§ 0464} JURISPRUDENCIA.—Debe probarse la calidad de
nacional colombiana para hacer improcedente la extradicion.
“(J el sefior B es una persona nacida en ef exiranjero, hijo de
padres colombianos pero sin. domlcilio en la Republica, por to
que no puede considararse’a !a Iuz de {a constilucién de 1997,
ni ala de la de 1886, como nacional colambiano por naclmiento
y por tanto esla exciuido del amparo constitucional del articulo
35 de ja carta:

Sumase a lo anterior, dua ‘al seior B se ha identilicado ouran-
fe toda su vida, hasta al 28 de octubre de 1995 inclusive, como
ciudadanio venezolano; es titular del pasaporte, yenezolano Ne
6.523.723 y de la cédula de idantidad del mismo numero expe-
dida por la Republica de Venezuela (fis. 306 8 307}, identifi-
caciones con las que ademas se encuentra que tramilé docu-
mentos en los Estados. Unidos de America, como la Ncencia de
sonduccién (ffs. 257 a 264) y fa tarjeta de residente exlvanjero
(278 4 283), por lo que nacido en Venezuela y con documentos

de identidad de ose Estada, no puede alribuirsele ninguna na~

cionalidad diterenta que (a de venezolano.

Respecto de alegato de conelusién presenlado por ef sefor
abogade defensor. 61 cuanto afitma que de conformidad con él
articule 96 de la Constituclén. Palftica su detendida tlene dere-
cho a gazar de le doble naclonalidad, sin perder la colombiana.
que dice fiene. fa Corie se permite precisar:

Es cierlo como lo sehala el sefor defensor que el sefior B no
ha renunciade a su naclonalidad colomblana, y ello es asi por
cuanto resuiia complelamente imposible fenuneiar @ algo que
no s¢(iend, pues el sefar 8 en ningda momenta ha sido nacio-
nal colombiano par nacimiento: no nacié dentro dé las {ronteras
de {a Republica de Colombia y jamas ha estado domiciliada aqui.
En lal razén y come nunca ha combinado el lus sanguinis, qué
fo favarece para su nacionalidad cofombiana, con el lus domicilll,
que exige tanto fa Conslitucién actual como tamblén lo hacia la
anterior, no pueda alegarse@ colombiano por naclmienlo y por
tanto no puede renuniciar @ una naclonalidad que no tiene ahora
yno ba tenido nunea, aunque eventualmente podra llegar 4 te-
ner si alguna vez fija su domicitio en la Repdblica, previo ade-
Jantamlanito de los. trdmites que sefala la Ley 43 de 1993 y 6U
decrato Feglameniario: 207 del mismo afc, narmas aplicables
por sar tas Yaleas qua permiten obtener la naclonalidad cuando
gg goza de otra. aunque la alra, como en aste caso, no se haya
adgquiride por carta de naturalizacign, como explicaba él articula
9° de la Constitucién de 1886, sino por naturalizacion simple y
flana obtenida por haber nacido en alro pals.

EI safior defensor reclama, con fundamento en a! atliculo 3° dé
la Ley 43 de 1993, el reconocimiento de jg nacionalidad colom-
blana de B por ser titular de Ja, cédula de cjudadanta N° 79.824.673
de Santalé de Bogola D.C., y al respecte anola La Carle: ,

La mencionada norma gerala: ‘De la prusba de la nacionali-
dag, Pata todos los eléctos legales, $€ consideraran como pruebas
de ia nacionalidad colombiana la farjeta de identidad o la cédula

- $0464

  

 
 

   
  

wwe lado de la pruaha def domicilio cuando sea el caso’.

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LOS DEREC

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Ac 1 a
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de cludadania expedida porta Regisiraduria Nacional dal Esta-
do Civil o el registro clvil para los menoras de 7 aiios, acompa-

Esle artieulg contiene evidentemente una orden perentorla
de reconocer probada Ia nacionalidad dol titular de uno de los
documentos aiff anolados, pero alia no dependa exclusivamen-

te de ese hecho, sino que debe eslar “acompanado da la prueba
del domicilio cuando sea el cago”,

Naturalmente la expresién ‘cuando Sea el casa“, dehe deter-
minarse con arregio a la Conslitucién y las leyes y con visla ea
tales normatividadas, fa Carla puede conclulr que Ja sitvacién

del seflor B as uno de los casos a los que sa refiere al articuto
“9° de la Ley 43 de 1993.

Sin embargo, camo atrds s@ ha declarado, ef sefior B es un

ciudadano venazolano, hijo de padres colombianos, qua ha fa-
cido en territoria extranjara.

‘Siendo allo asi, liana raspecto de Ia nacionalldad de colom-

: biano por nacimianto, unleamente la expectaliva de obtenerla
cuando, de contormidad con ol arliculo 98 de la Constitucién
Polilica de 1991, “se domieiflare en la Republica’, requisilo que
de igual manera exigta el literal b def ordinal 1°, del articule 8°
dela anterior Constitucidn.

En este arden de ideas y por Iratarse de un asunto atlnente a
la naclonalidad, $@ entiende per domicilio, ta definicién qua da
4l entrega el inciso 3° del articulo 2° de la propia Ley 43 de
1993, que sefiala; “Por domicilio se enilenda la residencia en
Calambia acompafiada del dnimo do permanacer en el lerritorio
nacional, de acuerdo con las normas pertinentes del Cadige Civil".

Surge claro de lo expuesto, que para los colombianos qué
hayan perdido la nacionalldad colombiana, por | razon de Ia apli-
cacién dal articulo 9° de la Constitucién anterior, o para aqué-
flos que nunca fa han tanido pera lienen la expectalive de tener-
Ia, no basta la mera exhlbicién de fos documentos @ qua sa
rofiare al articulo 3° de la Ley 43 de 1993, sino que a elles
deben agregar pruebas claras y conlundantes del dalme de per-
manecer en el terrilorio nacional, situacién que no $e damuestra
con olfa cosa que con hechos de las que se deduzca claramen-|
te la vocacién de permanencia en al tarritario nacional. (...).

Ahora bien, la obfencién da cualquiera de talas documentos,

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HOS, LAS GARANTIAS Y LOS DEBERES:

 

[$0470] COMENTARIO.—Valor dol derocho Internacional. Elde- .
echo de asfio o amparo Internacional tlene come fuanta el derecho
de gantas, consagrado en convencionss inlarnacionales y no en ins-
(rumontes lagales de orden interno. Par aso, cuando fa Constliucién
en fl arlicula comantado ramite a ta ley, so fefiera mas expresamente
a las layes aprobalorias de tratados © convencionas Internacionales y
no ala mora reglamentactdn Intarna. Vale la pena geflatar que la Carla
consagra al asilo dentro del capitula da los derechos tundamentalos.
Ahora bien, al ejercicio da esia doracho queda someiido a las leyes

aprobalorlas de tratadas intarnaclonalas, no siando gor fo tanto un
deracho subletivo, de aplieacion inmediala.

1g 0¢71) 0. 2971098,

ART.141,—Podrd solicitar visa de osidente, reluglado o asilade et
axtranjeio as( caflficado por al Minlsterlo 6 Relaciones Exterloras,
de acuerdo con Jos tralzdos y convencionas sobre Ja materia  Fatttlea:
dos por al Gobierno Colombiano.

{§ 0472 20475) Reservados. ~

DERECHO DE REUNION

"[§.0476) ART. 37.—Toda parte del pueblo puade reu-
nirse y manifestarse publica y pacificamente, Solo la ley”
podra establecer de manera éxprasa los casos en los
cuales sa podrd limitar el ejercicio de esle derecho
(§ 1036, 1400, 1834, 2761, 2762, 2768, 4756).

NOTA: Normas intarnaclorialas concordantes;

= Declaraclén‘tniversal de derechos humanos, grt. 20, libertad de .
raunién (§ 7020). : :

— Paclo Internacional do dorechos clvitag y polltlcos, L. "74168, art,
21, derecho a reunidn pacilica.

~~ Convencién americana sobre darechos humanos, L. 18/72, art.
15, darache da ceunida.

™ Convancién sobre los derechos del nifia, L. 12/91, an 15,
‘ 0587-15),

* Dasarrofle fegat dela norma:
_ Codigo Nacional de Policta, D. L. (355/70, aris, 102 a 107.

r

(§ 9476-1] (74/68, Pacto Intemacional da Derechos: Civilas y Potilicas.

LAAT. 21.~Se reconece el derecho de reunlén paeifica. €I ejercl-
cio de tal derecho sélo podrd estar sujcto a fas rastrieciones pravislas
pot la ley que sean nacesarias en una sociedad democralica, an inte-

 

 

 

tarjela de identidad, cddula da cludadania, o registro civil de
nacimiento, debe hacerse con arragio a las leyes, no en contra-
via con ellas, pues no debe olvidarse que uno de los elementos
esenciales del acceso 2 Ja nacionalidad colombiana, por naci4
miento o por adopcidn, es la manilastaciin de la “voluniad ¢
respatdar y acalar la Constitucién Politica y las leyes de |a Re
publica” y por supvesto no tiene tal voluntad quien adalania log’
lrdmites para oblenar uno de tales documentos, en coniraven
cién de fa fey que rige para su caso concrelo". (CSJ, Conc, mar.
4/97, Rad. 1.35. M.P..Carlos Eduardo Mejfa Escobar).

[$0465 a 0468] Acservados

DERECHO DE ASILO

8 0469) ART. 36.—Se reconoce e| derecho de asi-
lo en los términos previstos en la‘ley (§ 1286).
NOTA; Normas internacionales ‘concordanies:

—Oeclaracién universal de darachos humanos, articulo 14, dare-
cho de asilo (§ 7024).

* w= Convencin americana sobre darachos humanos, Lay 16 de 1972,
anicule 22, derecho do citculact6n y residencia (§ 0310-1).

§ 0464

Cole ubiaue;

 

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(48 do la saguridad nacional, de la saguridad publica o del orden publica,

© pata protager la salud 6 la moral pablicas ¢ 0 fos derechos y liberta-
des de log demas. .

 

§ 0477} ‘L. 1672, Convencién Amaricana sabre Derachos Humanos,
Paclo da San José,

_ ART 15.—Deracha ‘ge raunién, Se reconoce ef derecho da raunién

pacifica y sin armas. E) ajarcicie de tal derecho sélo puede estar su-
jelo a las restricciones previsias pos ta iey. que sean necesarias en
una sociedad democralica. an inlerés de ta seguridad nacional, de la
gaqiuidad 0 del orden puhliens o para proteger la salud o la moral
publicas 0 los derechos o fibertades de los demas.

 

(§ 0478] JURISPRUDENCIA-TUTELA.—Ejorelcio publico y
pacifico. ‘E] articulo 46 de la Constitucién de 1888 sdlo consa-
graba el deracho de reunidn mientras que la oueve norma incor-
pora ef de manifestacién. En ambos casos garantiza gu ejercicia
pubileo y pacllico, La norma aprobada no establece la facullad
qua se olargaba a las autoridades de disolver toda reunién que
degenerara en asonada o tumulto o que obsiruyera las vias pu-
blicas. En su jugar se establece que sélo la ley podrd sefialar

expresamente los casos en jos cuales puede limilarse al efercl-
cio de esle derecho.

CONSTITUCION POLITICA DE COLOMBIA — ENVIO N° 30R — AGOSTO 2001

Ex\o @> LouraWe Bila Loy srefeccar Palidecn

 
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DIARIO OFICIAL. ANO CXXVII. N. 40078. 4, OCTUBRE, 1991. PAG 3.

DECRETO NUMERO 2265 DE 1991
(Octubre 4)

POR’ EL CUAL SE ADOPTAN COMO LEGISLACION PERMANENTE UNAS DISPOSICIONES
EXPEDIDAS EN EJERCICIO DE LAS FACULTADES DEL ESTADO DE SITIO.

E| Presidente de la Republica de Colombia, en ejercicio de la atribucién conferida por el articulo
transitorio 80. de la Constitucién Politica, y

CONSIDERANDO:

Que el Gobierno Nacional se encuentra autorizado por el articulo transitorio 80. de la Constitucién
Politica para convertir en legislacién permanente, los decretos expedidos en ejercicio de las
facultades del Estado de Sitio, que la Comisi6n Especial no haya improbado;

Que la Comisién Especial creada por el articulo transitorio 60. de la Constitucién Politica en
ejercicio de fa atribucién conferida en el literal a) de la misma disposicién, ha decidido no
improbar las normas de los Decretos legislativos 2047 de 1990, 2372 de 1990, 3030 de 1990, 303
de 1990 y 1303 de 1991, que se adoptan como legislacién permanente,

DECRETA:

ARTICULO 10. Adéptanse como legisiacion permanente las siguientes disposiciones del Decreto
legislativo 2047 de 1990:

Articulo 30. Si el juez fuere competente por razon de la naturaleza del hecho, pero no estuviere
conociendo de! mismo, procedera a dictar auto cabeza de proceso, a recibir la indagatoria y a
definir la situacién juridica en los términos y condiciones previstos en el articulo anterior, y
simultaneamente, establecera por medios expeditos la existencia de proceso sobre los hechos
punibles confesados, remitiendo la actuacién a quien tuviera el expediente tan pronto recibe
informacion en tal sentido, junto con el detenido y con los bienes si los hubiere.

Si no obtuviere informacién dentro de los cinco (5) dias siguientes, continuara adelantando el
proceso.

Articulo 40. Si el juez ante quien se hizo la presentacién no fuere competente para investigar los
hechos punibles, recibira sin demora la version libre y espontanea, y remitira la persona, de
manera inmediata, con la respectiva actuacién, al competente para la instruccién del asunto a fin
de que la aboque de inmediato, poniéndole los bienes a su disposicién. El juez competente para
decir la situacion juridica, dictara auto de cabeza de proceso, recibira la injurada y resolvera la
situacion juridica y lo referente a la libertad del sindicado, conforme a las previsiones del articulo
30.

Paragrafo. Para la recepcién de indagatoria, los términos a que se refiere el articulo 412 del
Cédigo de Procedimiento Penal se empezaran a contar a partir del dia siguiente al de aquei en
que el privado de libertad sea puesto a su disposici6n.

Articulo 50. El Ministerio de Justicia podra disponer el cambio de radicacién del proceso en los
casos y mediante et procedimiento sefialados en el Decreto legislativo 2490 de 1988.

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Articuio /o. Si alguna de las personas que hubiere intervenido en la comisién de los hechos
punibles confesados no se encontrare en las condiciones sefialadas en el articulo 10. de este
decreto, el juez que esté conaciendo de los hechos investigara por separado estos
comportamientos, rompiéndose la unidad procesal.

Articulo-90. Los beneficios establecidos en este decreto para los casos de confesién y
colaboracion con la justicia, son incompatibles con los consagrados para estas mismas conductas
en las leyes penales, pero el beneficiario podra acogerse a cualquiera de ellos, a su eleccién.

Articulo: 11. En la respectiva sentencia se dispondra e! decomiso a favor del Estado de todos los
bienes denunciados por el procesado en su confesién, salvo los derechos de terceros de buena
fe y de los demas cuya relacién directa con el delito se acredite por cualquier otro medio
probatorio, quien quiera que sea su duefio.

Paragrafo. Todo lo anterior se aplicara sin perjuicio de las normas vigentes sobre destinacion
provisional y definitiva de los bienes vinculados o derivados de los delitos a que se refiere este
decreto.

Articulo 12. Si dentro de los delitos confesados hubiere alguno cometido en el exterior, el juez
allegara las pruebas pertinentes mediante los procedimientos establecidos en el Capitulo III, dei
Titulo |, del Libro Quinto del Cédigo de Procedimiento Penal, para incorporarlas al proceso de
acuerdo con lo previsto en el articulo 15 del Cédigo Penal.

En estos casos no procedera la extradicién por tales hechos, salvo que se alleguen al proceso
pruebas que los desvirtuen o los alteren sustancialmente.

Articulo 13. En lo no previsto en este decreto se adelantara el proceso por las normas especiales
o generales establecidas para los delitos a que se refiere este decreto.

ARTICULO 20. Addéptanse como legislacién permanente las siguientes disposiciones del Decreto
legislativo 2372 de 1990:

Articulo 10. El articulo 20. del Decreto 2047 de 1990, quedara asi:

Articulo 20. Si el juez que recibe la confesién es el competente para conocer de los hechos
punibles, y estuviere adelantando el proceso, continuara la actuacién, recibira la indagatoria y
procedera a definir la situacion juridica dentro de los términos de ley, si fuere el caso, disponiendo
la libertad inmediata dei imputado sin caucién y con el compromiso de hacer presentacién
personal cuando se le requiera por razon del proceso, si se tratare Unicamente de los delitos de
porte ilegal de armas y concierto para delinquir. En estos casos tampoco habra incautacién ni
decomiso de bienes, salvo los relacionados con las armas mismas.

Si confiesa otros delitos, o los confesados son diferentes a los anteriores, se proferira detencién
preventiva sin derecho a excarcelacion.

Si los delitos confesados son conexos, se adelantara un solo proceso. Si algunos no {o fueren, se
investigaran por separado y conocera de ellos el mismo juez, aunque no sean de su
competencia, y se acumularan todos en la etapa del juicio. En esta ultima etapa solo habra lugar
a excarcelacién cuando haya transcurrido m s de un (1) afio desde la fecha de la ejecutoria de la
primera resolucién acusatoria, sin que se haya dictado sentencia.

Articulo 30. Si durante el término de privacién de la libertad por razon de los delitos confesados
\legare una Solicitud de extradici6n o una denuncia penal por el hecho no confesado, el
procesado sera juzgado por él por el mismo juez que esté adelantando o adelanté el proceso.
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Si confiesa la comisién de tales hechos tendra derecho a todos los beneficios sefialados en el
Decreto 2047 de 1990, siempre que la confesi6n pueda ser base de la sentencia. En caso
contrario se adelantara la investigacién y si fuere condenado por ellos, no tendra derecho a las
rebajas en él sefialadas pero no habra lugar a extradicion por estos mismos hechos.

Articulo 4o. Los procesados de acuerdo con Jos procedimientos sefialados en el Decreto 2047 de
1990, y én este Decreto, perderan los derechos que hubieren podido obtener por la confesion si
incurren en fuga o intentan realizarla.

ARTICULO 30. Addéptanse como legislacion permanente las siguientes disposiciones del Decreto
Legislativo 3030 de 1990:

Articulo 10. Quienes antes del 5 de septiembre de 1990 hayan cometido cualquiera de los delitos
establecidos en fa Ley 30 de 1986 y demas normas que la adicionen 0 modifican, o cualquiera de
los delitos de competencia de los jueces de orden publico, tendran derecho a rebaja de pena o
condena de ejecucién condicional, para los casos que expresamente se sefialen en este decreto,
cuando se cumplen los siguientes requisitos:

1. Que la persona no esté privada de la libertad comparezca voluntariamente ante un juez penal o
promiscuo de la Republica, y haga confesién libre y espontanea de cualquiera de los hechos
punibles a que se refiere el inciso primero de este articulo, en el que haya intervenido como autor
0 participe, siempre y cuando que ella pueda servir de base para dictar sentencia condenaitoria,
por determinarse ei hecho punible con las condiciones de tiempo, modo y lugar de realizacién
que permitan identificarlo claramente, y que no se aleguen las causalies de justificacién,
inculpabilidad o impunibilidad.

EI confesante acudira a la diligencia acompafiado de apoderado, 0 e! Juez le nombrara defensor
de oficio para el efecto. La retractacién de los hechos confesados hara perder todos Jos
beneficios.

2. Que en dicha confesién denuncie bienes que hayan servido para realizar los ilicitos, o que
provengan de su ejecucién en forma directa o indirecta, si los hubiere. Este requisito servira para
determinar la rebaja de la pena a que se refiere el articulo 90. de este decreto.

Si se trata de armas, o de cualquier otro bien que esté fuera del comercio debera hacer entrega
de los mismos al Juez, si los tuviere en su poder al momento de hacer la confesién, o posibilitar
su incautacion de manera efectiva.

Paragrafo Ii. El Director Nacional y los Directores Seccionales de Instruccién Criminal
suministrara a los interesados toda la informacion y proteccién necesaria para garantizar el
adecuado desarrollo de esta norma, y prestaran al juez todo el apoyo que se requiere para
trasladar al confesante ante e] Juez que sea competente para conocer de los delitos confesados,
coordinando para ello las actividades requeridas con las autoridades judiciales, civiles, policivas y
militares.

Es Juez competente para conocer del proceso el de Orden Publico que esté adelantando la
investigacién por cualquiera de los hechos confesados. Si fueren varios, cualquiera de ellos a
prevencion. Sino se estuviere adelantando en ei pais investigacién por ninguno de ellos, o si
hubiere sido cometido en el exterior, sera competente el Juez de Orden Publico o quien el
Director Nacional o Seccional de Instruccién Criminal, o el de Orden Publico, segun al caso,
asigne la investigacién.
Case 1:99-cr-00196-PAS Document 19 Entered on FLSD Docket 05/27/2003 Page 12 of 25
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Si el proceso por delito confesado lo estuviere adelantando un Juez ordinario, perdera la
competencia, lo que correspondera al Juez de Orden Publico a quien el Director Nacional o

Seccional de Instruccién Criminal, o de Orden Publico, segun sea el caso, le asigne la
investigacién.

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Paragrafo Ill. En ningun caso, los beneficios establecidos en este decreto se aplicaran a los
delitos cometidos con posterioridad al 6 de septiembre de 1990, salvo lo dispuesto en el
paragrafo | de esta disposicién.

Articulo 20. El Juez que reciba la confesion debera dar aviso por via telegrafica, o por cualquier
otro medio escrito idéneo al Director Seccional de Instruccién Criminal, al Procurador Delegado
para los Derechos Humanos y al provincial, informando el nombre completo y el numero y clase
de documento de identidad correspondiente de quienes comparecieren a confesar.

Cuando se defina la situacién juridica del procesado, se informara nuevamente a dichos
funcionarios sobre la naturaleza de la decision y sobre los delitos confesados.

Articulo 30. Recibida la informacién por el Procurador Delegado para los Derechos Humanos,
éste, por medio de un funcionario del Ministerio Publico, tomara las medidas necesarias para
garantizar el respeto pleno de los Derechos Humanos de los procesados.

Articulo 40. El Juez competente para conocer del proceso abrira la investigacién, la continuara y
procedera a definir la situacién juridica del procesado dentro del término de ley teniendo como
indagatoria la confesiébn hecha por éste; si considerare oportuno ampliarla previamenite,
procedera a hacerlo.

Si se tratare unicamente de los delitos de porte ilegal:de armas y concierto para delinquir; en ef '
mismo acto dispondra la libertad inmediata del imputado, sin caucién y con el compromiso de
hacer presentacién personal cuando se le requiera por razén del proceso. En estos casos no
habra incautacién ni decomiso de bienes, salvo Jas armas, o cualquier otro bien que esté fuera
del comercio.

Si confiesa ademas otros delitos, se adelantara investigacion por estos en forma separada para
cada uno, salvo que sean conexos, y se proferira auto de detencién preventiva en ellos sin
derecho a excarcelacion. Si sdlo confiesa delitos diferentes a !os sefialados en ei inciso segundo
de este articulo, se proferira auto de detencién preventivo por cada uno de ellos, sin derecho a
excarcelacion. .

En los casos sefialados en estos dos Uultimos incisos, los bienes estaran sujetos al régimen
establecido en los articulos 53 y siguientes del Decreto 2790 de 1990 (6), y con relacién a ellos el
Juez debera cumplir las obligaciones sefialadas en dichas normas para el jefe de la Unidad de

Policia Judicial, pudiendo comisionar para ello a otros jueces o a funcionarios de la Policia
Judicial.

Articulo 60. El Ministerio de Justicia revocara Jos autos de detencién con fines de extradicién una.
vez se ejecutorie la sentencia o sentencias en los respectivos procesos si hubiere condena por
alguno de ellos, o se hubiere dictado auto de cesacién de procedimiento en el evento a que se
refiere el inciso segundo del articulo 80. de este decreto.

Articulo 7o. El Juez que haya asumido el conocimiento de los delitos confesados sera
competente para conocer de todos los procesos que se adelanten contra el procesado, asi
algunos de los delitos no sean de su competencia, o alguno de los coautores o participes no
estén en las condiciones sefialadas en el articulo 10. de este decreto, salvo el fuero constitucional
o legal respecto de los aforados unicamente. Adeiantara un solo proceso con los que fueren
conexos, y tramitara por separado los que no lo fueren, pero se acumularan todos en la etapa del
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juicio, cuando fuere posible. Por los delitos no confesados no habra lugar a las rebajas previstas
en este decreto.

En caso de concurso de delitos, la pena imponible sera la de! delito al que corresponda una pena
mayor dentro del proceso, hecha previamente la determinacién para cada uno de ellos por razon
de las circunstancias agravantes y atenuantes de !a punibilidad y las rebajas de penas a que haya
lugar aumentada hasta en otro tanto.

El tramite para los delitos a que se refiere este articulo en los procesos adelantados por los
Jueces'de Orden Publico, sera el establecido en el Decreto legisiativo 2790 de 1990, pero hasta
el 16 de enero de 1991 fa investigacién la adelantara también el juez de conocimiento. Las
pruebas seran practicadas por la unidad de policia judicial que sefale el Juez competente.

Articulo 80. Cuando entre los delitos que se investigan haya alguno cometido tanto en el pais
como en el exterior, sdlo podra dictarse el auto de cierre de investigacién, cuando hayan
transcurrido por lo menos nueve meses de haberse enviado a la representacién diplomatica del
respectivo pais, el exhorto pidiendo la practica o traslado de pruebas, si éstas atin no han
llegado. Pasado este término, se calificara el proceso con el material probatorio que obre en el
mismo.

Si uno de los delitos hubiere sido cometido integramente en e! exterior, se adelantara para el
proceso separado. Si las pruebas pedidas no hubieren llegado dentro del afio siguiente a su
peticion, el juez dispondra la libertad provisional del sindicado si no estuviere siendo procesado
por otros delitos, mediante la constitucion de una caucién que garantice suficientemente ia
presentacion periddica y la prohibicién de salir del pais mientras dure el proceso. Durante este
periodo no habra lugar a extradicién por delitos cometidos antes del 5 de septiembre de 1990.
Dispondra la reapertura de la investigacion por este delito, y continuara el tramite de los otros, si
los hubiere. Pasado un afio mas sin que hubieren llegado las pruebas, procedera a calificar el
mérito del sumario.

Articulo 90. Si después de calificado el mérito del sumario en aiguno de los procesos adelantados
o dictado sentencia condenatoria, llegaren nuevas denuncias, adelantara la investigacion el Juez
de Orden Publico o especializado que sefiale el Director Nacional o Seccional de Instruccién
Criminal, o el de Orden Publico, segtin el caso. Si el procesado o sentenciado aceptare haberlos
cometido, tendra todos los beneficios sefaiados en este decreto. En caso contrario se continuara
la investigaci6n, y si fuere condenado por ellos no tendra derecho a las rebajas en é! sefialadas.

Si hubiere sido condenado previamente por hechos confesados, o hubiere sido beneficiado con
cesacion de procedimiento de acuerdo con lo previsto en el inciso segundo del articulo 80. de

este decreto, aun cuando en el momento de presentarse la nueva peticidn ya estuviere
disfrutando de libertad.

Si la persona hubiere confesado delitos sancionados con pena privativa de la libertad, en caso de
condena por los nuevos delitos la pena se integrara con la que se le hubiere impuesto en el
anterior proceso, para efectos de la acumulacién juridica de fa sancién, cuando Ja que sirvid para
determinarla haya sido mayor en éste que la correspondiente del nuevo proceso. En cas6
contrario, se tomara como base para la acumulacion juridica la de éste, teniéndose en cuenta los
delitos del anterior proceso para el cdiculo del incremento de la pena por razén del concurso,

siendo la pena total para ambos procesos esta Ultima, sobre la cual se descontara la que ya se
hubiere pagado.

La pena imponible en el nuevo proceso se determinara de acuerdo con lo dispuesto en el inciso
segundo dei articulo 7o. de este decreto.

 
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Articulo. 10! Cuando el procesado haya confesado el delito del porte ilegal de armas o el de
concierto para delinquir, o su concurso, el Juez suspendera la ejecucién de la sentencia en los

términos. sefialados en los articulos 69, 70 y 71 del Codigo Penal, pero sdlo respecto de estos
delitos.

Si ademas hubiere confesado otros delitos, o los confesados fueren distintos de los sefialados en
el inciso anterior, el Juez condenara por éstos, estableciendo la pena a que haya lugar de
acuerdo ‘con Io previsto en el inciso segundo del articulo 70. de este decreto, descontando
previamente para los delitos confesados las siguientes rebajas:

a)'En una tercera parte por raz6n de la confesién;

b) Hasta en otra sexta parte por razén de la colaboracién que se haya prestado para descubrir los
demas autores o participes del delito y por Ja cuantia de los bienes-denunciados, y

c) Las que estén establecidas en la legislacién penal o en leyes especiales, si el procesado
prefiere estas en los términos sefialados en el articulo siguiente.

Articulo “11. Los beneficios establecidos en este decreto para los casos de confesion y
colaboracién con la justicia son incompatibles con los consagrados para estas mismas conductas
en las leyes penales, pero el beneficiario podra acogerse a cualquiera de ellos, a su eleccién.

Articulo 12. En los delitos a que se refiere este decreto no habra lugar a ila suspension de la
detencién preventiva ni de la ejecucién de la pena, pero pedra concederse-ia detencién
hospitalaria cuando el procesado o condenado sufriere grave enfermedad, o a la imputada le
faltaren cuatro (4) semanas para el parto, o si no han transcurrido dos (2) meses desde la fecha
-en que dio a luz. En los eventos anteriores, se exigira por el juez certificado del médico legista,
quien determinara periddicamente sobre la necesidad de que continue la detencién en la forma
prevista en el inciso anterior. Esta medida s6lo podra ser autorizada, previo concepto favorable
dei Agente del Ministerio Publico.

Articulo 13. Sin perjuicio de lo dispuesto en el articulo 14 de este decreto, en la respectiva
sentencia se dispondra el decomiso a favor del Estado de todos los bienes denunciados por el
acusado en su confesion, asi figuren a nombre de otras personas, salvo los derechos de terceros
de buena fe, y de lo demas cuya relacién directa con ei delito se acredite por cualquier medio
probatorio dentro del proceso, quien quiera que sea su duefio, a quien se escuchara en incidente.

Paragrafo. Todo lo anterior se aplicara sin perjuicio de las normas vigentes sobre destinacién

provisional y definitiva de los bienes vinculados o derivados de los delitos a que se refiere este
decreto.

Articulo 14. En la sentencia que se profiera como culminacién de los procesos por delitos a que
se refiere este decreto, se condenara al pago de los perjuicios causados por ei hecho punible, y
los bienes decomisados se dedicaran preferenciaimente al pago de dichos perjuicios.

Articulo 15. En lo no previsto por este decreto se adelantara e|] proceso de conformidad con las
normas contenidas en el Decreto 2790 de 1990 y las que adicionen o reformen, y en subsidio, por
las del Cédigo de Procedimiento Penal.

Articulo 16. Este decreto rige a partir de la fecha de su publicacién, y subroga en lo pertinente los
Decretos Legislativos 2047, 2147 y 2372 de 1990.

ARTICULO 40. Addéptanse como legislacién permanente las siguientes disposiciones del Decreto
legislativo 303 de 1990:
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Articulo 10. Las personas que se sometan a la justicia en las condiciones y por razon de los
delitos adelante contemplados, tendran derecho a las rebajas de pena previstas, por delito
confesado, cometido antes de la fecha de la entrega, siempre que cumplan efectivamente la pena
privativa de la libertad impuesta en la sentencia respectiva como se prevé en este decreto. En
este ultimo caso se exceptua la cesacién de procedimiento a que se refiere el inciso tercero del
articulo 90. del mismo decreto.

Articulo 20. Los hechos o conductas delictivas imputables a procesado que por desvirtuar el
régimen de sometimiento a la justicia previsto en los Decretos legislativos 2047 y 3030 de 1990,
hagan perder cualquiera de los beneficios alli establecidos, deberan estar probados dentro del
proceso, y si se trata de hecho punible, sdlo operaran a partir de la ejecutoria de la sentencia que
lo declara.

Articulo 30. El articulo 50. del Decreto legislativo 3030 de 1990,quedara asi:
Articulo 50. En el auto de apertura de investigacién el juez dispondra Jas siguientes diligencias:

a) A través dei Ministerio de Relaciones Exteriores, solicitara a las autoridades extranjeras, el
envio de todas las pruebas y demas informaciones que las autoridades competentes del
respectivo pais dispongan con respecto a procesos o investigaciones que en tal pais cursen
contra el procesado, ya se trate de los mismos hechos o de otros que puedan ser materia de
investigacién en Colombia. Para tal efecto debera precisar claramente el nombre y demas datos
que permitan la identificacién del procesado, asi como !os motives de !a indagacién.

Solicitara, igualmente, el envio de informacion relacionada con las solicitudes de extradicién que
se hubieren formulado, o pudiesen formularse contra el procesado;

b) Pedira al Ministerio de Justicia el envio de toda la documentacién existente en contra del
procesado por razén de peticiones de extradicién, para agregarla al proceso;

c) Pedira a todos los juzgados del pais por conducto de la Direccién Nacional de Instruccion
Criminal, el envio de todos los procesos en los que esté vinculado el procesado como autor o
participe;

d) Solicitara informes al Departamento Administrativo de Seguridad, a la Policia Nacional y demas

autoridades de policia judicial sobre las investigaciones que se estén adelantando contra el
procesado;

e) Dispondra la practica de las pruebas que considere conducentes para confirmar o infirmar las
aseveraciones hechas por el procesado en su confesién, y de las demas que considere
pertinentes para esclarecer los hechos;

f) Dara aviso al Ministerio Publico para que adelante Io relativo a la indemnizacion de perjuicios
en los términos sefialados en el Decreto 2790 de 1990:

g) Solicitara a las autoridades nacionalies el envio de las pruebas que se hayan producido
validamente en otro proceso, dentro o fuera del pais, y que tiendan a establecer los hechos
materia de la investigacion, en los términos del articulo 256 del Codigo de Procedimiento Penal.

Paragrafo. Las previsiones consagradas en este articulo se aplicaran sin perjuicio de Jo previsto
en tratados publicos, convenciones, usos internacionales y ios acuerdos validamente celebrados
entre gobiernos.
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Articulo 40. En el tramite de los procesos de que tratan los Decretos legislativos 2047 y 3030 de
1990, la sentencia condenatoria también debera ser consultada ante el Tribunal de Orden
Publico.

ARTICULO 50. Adéptanse como legislacién permanente las siguientes disposiciones del Decreto
legislativo 1303 de 1990:

Articulo to. En los delitos de competencia de los Jueces de Orden Publico, las relaciones de las
autoridades colombianas con las extranjeras para todo !o relacionado con la practica y el traslado
de pruebas o medios de prueba, se regira por lo que dispongan los tratados publicos, las
convenciones internacionales, los acuerdos entre gobiernos y los usos internacionalmente

consagrados. A falta de estos, 0 en lo no previsto en ellos, se aplicaran las disposiciones del
presente decreto.

Articulo 20. Cuando el Juez de Orden Publico tenga fundados elementos de juicio que le permitan
concluir que el procesado ha cometido delitos en el exterior que estén siendo investigados o que
puedan ser investigados oficiosamente, solicitara por intermedio de la secretaria juridica del
Departamento Administrativo de la Presidencia de la Republica, informes a los paises que
corresponda, sobre los procesos en curso y sobre la existencia de las pruebas que puedan ser
aportadas a Ia investigacién por él adelantadas.

Articulo 30. Cuando un Juez de Orden Publico deba solicitar a una autoridad extranjera una
prueba o informacién relacionada con un proceso, enviara !a peticidn por intermedio de la
secretaria juridica del Departamento Administrativo de la Presidencia de !a Republica, ia cual

dara tramite inmediato a la peticion. Si la peticion carece de algun elemento esencial para su
tramite, dicha dependencia coordinara con la oficina de origen para que se subsane la omisi6n.

La Secretaria Juridica del Departamento Administrativo de la Presidencia de la Republica
coordinara la transcripcion de la solicitud al idioma del pais al cual se le formula y le dara curso
elevando las solicitudes correspondientes ante las autoridades extranjeras, directamente o por
conducto del Ministerio de Relaciones Exteriores, cuando a elio hubiere jugar, mediante el
procedimiento de exhortos o cartas rogatorias.

Articulo 40. Las solicitudes de asistencia judicial que se formulen a las autoridades extranjeras,
para el recaudo o traslado de pruebas que obren en diligencias o procesos de competencia de
los Jueces de Orden Publico, deberan hacerse por escrito y podran efectuarse sefialando, entre
otros, los siguientes aspectos:

A. El nombre de la autoridad encargada de la investigaci6n, identificada con su denominacion o
codigo correspondiente.

B. La descripcién del asunto, la indole de la investigacion, la mencién sumaria de los hechos con
indicacién del o los procesados si se conocieren, y la calificacion juridica provisional que a estos
corresponda, cuando a ello hubiere lugar.

C. La descripcidn completa de las pruebas e informaciones que se solicitan. Cuando no se
conozcan las pruebas, la mencidn de los hechos que se quieren acreditar.

Si se trata de prueba trasladada, se especificara el documento que debe ser enviado o
reproducido, determinandose el proceso en el que se encuentra y la autoridad que lo tramita.

D. Las copias auténticas de los documentos o pruebas que se quieran corroborar.
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=. Si se trata de pruebas que deban ser practicadas, se sefialaran estas, se especificaran las
formalidades especiales para su recepcidn, y se daran las informaciones adicionales que se
consideren utiles para el adecuado cumplimiento de la peticion.

F. Para la recepcién de testimonios, se especificaran los hechos concretos sobre !os cuales debe
recaer el interrogatorio.

G. Cualquier otra informacion que pueda ser de utilidad a la autoridad a la cual se formula Ia
solicitud, para su mejor cumplimiento.

Paragrafo |. Se presume la autenticidad de los documentos remitidos y de las pruebas
practicadas por autoridad extranjera, siempre que su traslado o su tramite se realice por peticién
de autoridad colombiana.

Paragrafo II. La peticién de traslado de pruebas o practica de las mismas, formulada a las
autoridades extranjeras, incluira la solicitud de que se certifique que ellas fueron practicadas
validamente, de conformidad con la respectiva ley procesal.

Articuio 50. Cuando se trate de solicitudes formuladas por autoridades extranjeras, relacionadas
con pruebas que puedan encontrarse en procesos de competencia de los Jueces de Orden
Publico, estas seran tramitadas por intermedio de la Secretaria Juridica del Departamento
Administrativo la presidencia de la Republica, para lo cual la autoridad que reciba la solicitud fa
enviara a dicha dependencia.

Cuando taies solicitudes se formulen por via diplomatica, el Ministerio de Relaciones Exteriores
remitira la solicitud de manera inmediata a la Secretaria Juridica del Departamento Administrativo
de la Presidencia de la Republica para su tramite.

Articulo 60. El Gobierno Nacional determinara si el tramite de ta solicitud afecta la seguridad u
otros intereses esenciailes del pais, o el adelantamiento de otras investigaciones, o si la
informacién no contiene los elementos requeridos para darle curso, en cuyo caso se dara aviso
inmediato, a través de la Secretaria Juridica del Departamento Administrativo de la Presidencia
de la Republica, a la autoridad encargada de coordinar el tramite en el pais solicitante.

Si se condiciona la solicitud al cumplimiento de ciertos requisitos por el pais solicitante, éste
podra insistir en su tramitacién comprometiéndose a cumplirios en un plazo prudencial.

Si la solicitud fue formulada por via diplomatica, la devolucién o las diligencias realizadas se
remitiran por la misma via.

Articulo 70. Si la solicitud fuere procedente se enviara por dicha Secretaria al Director Seccional
de Orden Publico que corresponda, o a la autoridad que a juicio del Secretario Juridico del
Departamento Administrativo de la Presidencia de la Republica pueda cumplir en forma expedita
la comisiOn, cuando se trate de la practica de pruebas.

Articulo 80. La practica de las pruebas se efectuara de conformidad con las normas legales
internas del pais que deba realizarlas.

Cuando la solicitud establezca que se realice conforme a determinadas condiciones, las mismas
se practicaran de conformidad con lo pedido, siempre que no se contrarien los derechos y
garantias consagrados en las leyes internas del pais que deba realizarlas.

Articulo 90. El tramite y diligenciamiento de las solicitudes de que trata este Decreto, seran
reservados.
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Ariicuio 10. Ei presente Decreto rige modifica en lo pertinente los articulos 641 a 646 del Codigo
de Procedimiento Penal y el articulo 30. del Decreto 303 de 1991.

ARTICULO 60. El presente Decreto rige a partir de la fecha de su publicacién y deroga las
disposiciones que le sean contrarias.

Publiquese y cumplase.

Dado en Santa Fe de Bogota, D. C., a
4 de octubre de 1991.

CESAR GAVIRIA TRUJILLO

Et Ministro de Justicia,
FERNANDO CARRILLO FLOREZ.
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- Decreto>u30 del 14 de diciembre de thuo
por medio del cual se establecen los
requisitos para la rebaja de penas por
confesion de delitos cometidos hasta el 5 de
septiembre de 1990.

- Decreto 303 del 29 de enero de 1991, que
modifica el Decreto 3030 de 1990, y
establece la rebaja de penas y no
extradici6én sin necesidad de confesién.

 
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- Decreto 2047, del 5 de sentiembre de
1990: crea mecanismos para incentivar el
sometimiento a la justicia de quienes hayan
cometido delitos relacionados con los
motivos de perturbacién del orden publico.
Este Decreto fue adicionado por medio del
Decreto 2147, del 14 de septiembre de
1990, que faculta al Procurador Delegado
para los Derechos Humanos para que una
vez recibida la informacién del juez que
recepciono la confesion de las personas a
que se refiere el Decreto 2047, comisione a
un funcionario a fin de que tome las medidas |
necesarias para garantizar el respeto pieno
de los derechos de los procesados y velar

porque se brinde la debida seguridad a los
declarantes confesos.
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ARTICULO lo. E! articulo 35 de la £ os Politica quedara asi:

ARTICULO 35. La extradicién se podra solicitar, conceder u ofrecer de acuerdo con los tratados publicos y,
en su defecto, con la ley.

&ltAparte entre corchetes { ... } INEXEQUIBLE> Ademas, la extradicién de los colombianos por nacimiento
se concedera por delitos cometidos en el exterior, considerados como tales en la legislacidn penal
colombiana. {La Ley reglamentara la materia}.

ItNotas &de vigencia>

- Apartdé entre corchetes { ... } declarado INEXEQUIBLE por la Corte
Constitucional mediante sentencia C-543-98 del 10. de octubre de
1998, |

La extradicién no procedera por delitos politicos.

No procedera la extradicién cuando se trate de hechos cometidos con anterioridad a la promulgaci6n de la
presente norma.

ItNotas &de vigencia>

- Inciso declarado exequible por la Corte Constitucional mediante

sentencia C-543-98 del 10. de octubre de 1998, unicamente por los

cargos analizados en la sentencia

ARTICULO 20. El presente acto legislativo regira a partir de su promulgacion.

El Presidente del honorable Senado de Ja Republica, AMYLKAR ACOSTA MEDINA

El Secretario General del honorable Senado de la Republica, PEDRO PUMAREJO VEGA

El Presidente de la honorable Camara de Representantes, CARLOS ARDILA BALLESTEROS

El Secretario General de la honorable Camara de Representantes, DIEGO VIVAS TAFUR.

 

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ARTICULO 35. <DE LA EXTRADICIT.<>. <Articulo modificado por aS uculo Lo. del Acto Legislative

No. 1 de 1997. El nuevo Lexiv es ei siguiente:> La extradicién se podra solicitar, conceder u ofrecer de
acuerdo con los tratados publicos y, en su defecto, con la ley.

Ademas, la extradicién de los colombianos por nacimiento se concedera por delitos cometidos en el
exterior, considerados como tales en la legislacién penal colombiana. La Ley reglamentara la materia.

La extradicién no procedera por delitos politicos.

No procedera fa extradicién cuando se trate de hechos cometidos con anterioridad a la promulgacién de fa
presente norma.

<Notas de vigencia>

- Articulo modificado por el articulo 1o. de! Acto Legislativo No. 1

de 1997, publicado en el Diario Oficial No. 43.195 del 17 de diciembre
de 1995.

<Legislacion anterior>

Texto original de la Constitucion Politica:

ARTICULO 35. Se prohibe la extradicién de colombianos por nacimiento.
No se concedera la extradicién de extranjeros por delitos politicos o de
opinion.

Los colombianos que hayan cometido delitos en el exterior, considerados
como tales en la legislacién nacional, seran procesados y juzgados en

Colombia.
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THROUGH WHICH SOME PROVISIONS ISSUED UNDER STATE OF SIEGE ARE
ADOPTED AS PERMANENT LEGISLATION.

The President of the Republic of Colombia, exercising his duty conferred under the
transitory article 8 of the Political Constitution, and

HAVING INTO ACCOUNT

That the National Government is authorized under the transitory article 8 of the Political
Constitution to turn into permanent law those decrees issued exercising the State of
Siege and not approved by the Special Commission;

That the Special Commission created under the transitory article 6 of the Political
Constitution exercising its duty attributed in the numeral a. in the same article, has
decided not to approve the norms from the decrees 2047 of 1990, 2372 of 1990, 3030 of
1990, 303 of 1990 and 1303 of 1991, that have been adopted as permanent law,

... Decree 2047, 1990...

Article 9. The benefits established in this decree for the cases regarding confession and
collaboration with justice, are incompatible with the ones established for these same
conducts under the criminal law, but the beneficiary could have recourse to the justice
under either of them, at his own will.

Article 11. In the judgment will be arranged the confiscation by the Estate of all
properties declared by the defendant in his (her) confession, except the rights of others
who have acted in good faith; and all others found to be related to the crime through any
other means, whoever the owner might be.

..-Decree 3030, 1990...

Article |. Anyone who before September 5, 1990 has committed any of the crimes
established in the Law 30 of 1986 and other norms added to it or which have modified it,
or any of the crimes under the Public Order Judges’ competence, will have the right to
reduced penalty or conditional execution sentence, for the cases specifically pointed in
this decree, when the following requirements are met:...

If it is regarding, exclusively, the illegal carriage of weapons and intention to commit a
crime, in the same act will be arranged the immediate release of the individual, with no
fine and with the commitment of showing personally anytime he (she) is required
because of the process...
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Article 6. The Secretary of Justice will revoke the judicial decree for detention with aims
of extradition, once the sentence or sentences are executed in each process, if there were
any, or if a judicial decree for suspending the process was issued in the event referred in
this decree, second paragraph article 8...

Article 10. When the defendant has confessed the crime of illegally carrying a weapon or
intention to commit a crime, or carrying it out, the Judge will suspend the execution of
the sentence under the terms established in the Criminal Law, articles 69, 70 and 71, but
only regarding these crimes.

If (the defendant) had also confessed other crimes, or the names confessed were different
than the ones indicated in the previous paragraph, the Judge will rule the sentence
according with what it is establish in this decree, second paragraph, article 7, and
deducting previously for the confessed crimes the following:

a. One third for what was confessed;

b. Upto one sixth for collaboration leading to dismantle the other perpetrators of the
crime and for the value of the properties denounced, and

c. The deductions established in the Crime Law or in special laws, if the defendant
prefers these in the terms indicated on the following paragraph.

Article 11. The benefits established in this decree for confession cases and collaboration
with the justice are incompatible with the ones established for these same behaviors in the
Crime Law, but the beneficiary could have recourse to either of them, at his own will.

Article 12. Regarding the crimes referred by this decree there will be no suspension of
preventive detention nor the execution of the sentence, but hospital detention could be
granted if the defendant or the convicted person suffers a serious illness, or if the
convicted woman will give birth in four weeks, or if not 2 months have passed since she
has given birth. In the previous events, the judge will demand a medical certificate and
this same legal physician will also determine periodically the need to continue the
detention under the circumstances established in the passing remark. This measure only
could be authorized, prior favorable concept of the Public Ministry Representative.

Article 4", Adopt as a permanent legislation the following dispositions of the legislative
Decree 303 of 1990:

Article 1°. The individuals who surrendered to justice under the conditions and because
of the crimes previqusly established, will have the right to reduced sentences because of
confessed crime, carried out before the date they turned themselves in, as long as they

observe effectively the sentence of being deprived of their freedom as it is established in
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this decree. In this last case it is exempted the suspension of the case as it is referred in
the third paragraph, article 9 on the same decree.

Article 2". The criminal actions or behaviors attributed to the defendant, that under the
justice submission procedure established in the legislative decrees 2047 and 3030 of
1990, may cause the lost of any benefits indicated there, must be proved in the process,
and if it is about a punitive action, it will only operate after the execution of the sentence
that declare his (her) guilt.

Article 6". The present Decree rules from the date of publication and overrules all other
contrary provisions.

Publish it and observe it.

Signed in Santa Fe de Bogota, D.C,
October 4, 199]

CESAR GAVIRIA TRUJILLO

The Secretary of Justice,
FERNANDO CARRILLO FLOREZ.

 
